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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                     10/20/2020
VAS EDELEN,
            Plaintiff,                              19-CV-8893 (JPC) (BCM)
-against-                                           ORDER
API FORTRESS, INCORPORATED, et al.,
            Defendants.

BARBARA MOSES, United States Magistrate Judge.

       The parties having informed the Court at the October 20, 2020 status conference that they

have reached an agreement in principle to resolve this matter, all pending discovery deadlines are

hereby ADJOURNED sine die. If the parties fail to file a stipulation of dismissal on or before

November 19, 2020, deadlines will be reset and enforced.

Dated: New York, New York
       October 20, 2020
                                             SO ORDERED.



                                             ________________________________
                                             BARBARA MOSES
                                             United States Magistrate Judge
